 

Case 2:12-cv-00697-.]TT-KK Document 7 Filed 02/15/13 Page 1 of 1 Page|D #: 28

R E C E l V E D UNITED STATES DISTRICT COURT
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3 WESTERN DISTRICT OF LOUISIANA
m~m?a"a“su“r
Al.nmomA, Lou¢sumA LAKE CHARLES DIVISION
DARTANYAN KIETCHEL BREAUX CIVIL ACTION NO. 2: 12-cv-697
VS. SECTION P
SHERIFF OF CALCASIEU PARISH JUDGE TRIMBLE
MAGISTRATE JUDGE KAY
MQMM

For the reasons stated in the Report and Recommendation of the Magistrate Judge
previously filed herein, and after an independent review of the record and noting the absence of
objections thereto, and concurring with the Magistrate Judge’s findings under the applicable
law;

IT IS ORDERED that plaintiff s civil rights action is DISMISSED WITH
PREJUDICE, as time-barred, and therefore, it is frivolous as a matter of law and fails to state a
claim for which relief may be granted. 28 U.S.C.l9lSA(b)(l) and 28 U.S.C. § l9lS(e)(2)(B).

l IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order by
regular mail, facsimile transmission, or e-mail to: (l) the District Clerk for the Eastem District of

Texas, Tyler Division, 211 West Ferguson, Tyler, Texas, 75702, Attention: Ms. Betty Parker.

THUS DONE AND SIGNED, in chambers, in Lake Charles, Louisiana, on this the
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2 § day of WJ/i/vwv\ , 2013.

 

JAM T. TRIMBLE, JR.
UNI D STATES DISTRICT JUDGE

